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 5
     Attorney for Defendant,
 6   RAUL HIGUERA-PARRA

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 9
                        IN THE UNITED STATES DISTRICT COURT FOR THE
10
                                 EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                            )
13                                                        )
                           Plaintiff,                     )       CASE NO: 07-CR-00144-AWI
14                                                        )
                                                          )       STIPULATION TO CONTINUE
15                          v.                            )       MOTIONS HEARING AND
                                                          )       FILING DEADLINES
16   RAUL HIGUERA PARRA, et al.                           )
                                                          )
17                         Defendants.                    )       HON. ANTHONY W. ISHII
                                                          )
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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney for Plaintiff, ALEX
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     KESSEL, attorney for defendant Raul Higuera Parra and RONALD HEDDING, attorney for
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     Angela Guadalupe Higuera, request that the current briefing schedule and motions hearing be
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     vacated and a new one be set as follows:
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            March 3, 2008 - Government’s responses due
26
            March 10, 2008 at 9:00 a.m.- Hearing on motions
27
            Counsel for Defendant Raul Higuera-Parra is presently engaged in trial in the matter of
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                                                     1
         Case 1:07-cr-00144-AWI Document 30 Filed 02/07/08 Page 2 of 3



 1   People vs. Maria Quijano, case number LA048968, in Department 103 of the Los Angeles County

 2   Superior Court, Central District in Los Angeles. This is a multiple defendant murder case wherein

 3   the defendants are presently in custody.

 4          Counsel for Defendant Raul Higuera-Parra is scheduled to begin trial on February 4, 2008

 5   in the matter of People vs. Andres Garcia, et al, case number 07ZF0008 in Department C40 of the

 6   Orange County Superior Court, Central District in Santa Ana. This is a four defendant multiple

 7   count attempted murder case wherein the defendants are presently in custody..

 8          In light of the above, all parties stipulate that time shall be excluded for the above purposes

 9   until the new hearing date of March 10, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A).

10   Dated: February 6, 2008                               Respectfully submitted,

11
                                                           /s/ALEX KESSEL
12                                                         Counsel for Raul Higuera Parra

13
                                                           /s/RONALD HEDDING
14                                                         Counsel for Angela Guadalupe Higuera

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16                                                         McGREGOR W. SCOTT
                                                           United States Attorney
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18                                                         /s/ Kathleen Servatius
                                                           KATHLEEN SERVATIUS
19                                                         Assistant U.S. Attorney

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         Case 1:07-cr-00144-AWI Document 30 Filed 02/07/08 Page 3 of 3



 1                                                ORDER

 2          The parties stipulated request to vacate the current briefing schedule and hearing on

 3   motions currently set for February 11, 2008 is hereby GRANTED. The new briefing schedule and

 4   hearing date are as follows:

 5          March 3, 2008 - Government’s responses due

 6          March 10, 2008 at 9:00 a.m.- Hearing on motions

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            Time shall be excluded pursuant to 18 U.S.C. § 3161(h)(8)(A) at both parties request to
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     allow for further investigation by defense counsel.
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     IT IS SO ORDERED.
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     Dated:     February 6, 2008                       /s/ Anthony W. Ishii
12   0m8i78                                      UNITED STATES DISTRICT JUDGE

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